[1] This is an appeal from a judgment adverse to plaintiff in an action seeking to prohibit respondents from closing a certain street in San Leandro. Respondents insist that the proceedings which appellant sought to prohibit were not judicial. The proceedings are the same as those considered inGarin v. Pelton, ante, p. 672 [209 P. 377]. It was there held that certiorari would not lie to review the proceedings because they were not judicial, and for the same reason prohibition cannot lie.
The judgment is affirmed.
Sturtevant, J., and Langdon, P. J., concurred.
A petition to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on October 2, 1922.
All the Justices present concurred.
Richards, J., pro tem., was acting. *Page 675 